Case 3:17-cv-00072-NKM Rage 1of3 Pageid#: 18008
IN THE UN THE

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ICT COURT FOR

UNITED STATES DIST
CLERK'S OFFICE U.S. DIST COURT
WESTERN DISTRICT OF VIRGINIA Pore ee
FILED

Charlottesville Division
Elizabeth Sines, et al

Plaintiff

 

Vv Case No: 3,17-cv-072
Jason Kessler, et al

Defendants

LIST OF WITNESSES

Comes now the Defendant, Christopher Cantwell, and, he discloses the
following List of Witnesses which he may call in his case in main:

Richard Spencer

Jason Kessler

Jeff Schoep

Matthew Heimbach

Matthew Parrott

Michael Hill

Michael Tubbs

James Fields

Ellliot Kline

Robert Ray

Michael Miselis

Benjamin Daly

Robert Rundle

Albemarle Commonwealth's Attorney Robert Frey

Charly Hew, fecommonwealth's Attorney Joe Platonia
Emily Gorcenski
Kris Goad

Thomas Massey
Thomas Keenan
Case 3:17-cv-00072-NKM-JCH Document 1086 Filed 09/20/21 Page 2of3 Pageid#: 18009
Lindsey Elizabeth Moéfy

Michael Longo ur

Ford Fischer

Sol Augustus Invictus

Daniel Schuler

Timothy Heaphy

FBI Special Agent Dino Capuzzio

FBI Speical Agent FNU Wolf

Paul Mintoys)

Kurt Vandal

University of Virginia Police Lieutenant FNU Tabler
Charlottesville Police Department Detective FNU Wright
Charlottesville Police Department Detective FNU Oberhauser
Charlottesville Police Department Major FNU Pleasants
Andrew Aurenheimer

Andrew Anglin

Tyler Davis

Daniel B6cden

Richard Preston

Alex Kamo

Jacob Goodwin

Dwayne Dixon

Respectfully Submitted,

/)

 

Christopher Cantwell
USP-Marion

PO Box 1000

Marion, IL 62959

CERTIFICATE OF SERVICE
I hereby certify that this List of Witnesses was mailed to the

Clerk of the Court, lst Class Postage Peck for posting on the

ECF, to which the other parties are bsicra this Ey. tt ae of
September, 2021. oe

 

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